      Case 4:08-cr-00290-SWW    Document 104      Filed 07/30/09    Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                                  NO. 4:08CR00290-002           SWW

CAMEKO L. COGSHELL


                                     ORDER

      The above entitled cause came on for hearing on government’s petition to

revoke the probation [doc #96] and sealed supplemental petition to revoke

probation [doc #98] previously granted this defendant in the United States

District Court for the Eastern District of Arkansas.    Based upon the statements

of counsel, the Court found that defendant has violated the conditions of

probation without just cause.

      IT IS THEREFORE ORDERED AND ADJUDGED that the probation previously granted

this defendant, be, and it is hereby, revoked.

      IT IS FURTHER ORDERED that defendant shall serve a term of imprisonment of

EIGHT(8) MONTHS in the custody of the Bureau of Prisons. The Court recommends

that defendant participate in residential or non-residential substance abuse

treatment, mental health counseling with emphasis on anger management, and the

Mothers and Infants Nurturing Together program.

      There will be a term of THREE (3) YEARS of supervised release following the

term of incarceration with the following conditions:

      1.    Defendant shall serve a period of SIX (6) MONTHS in home detention
            with electronic monitoring under the guidance and supervision of the
            U. S. Probation Office. The cost of such monitoring is to be paid
            by the U. S. Probation Office.

      2.    Remainder of the restitution of $3,860.00 is mandatory and payable
            during the term of incarceration and supervised release. During
            incarceration, the defendant will pay 50% per month of all funds
            that are available to her. During residential reentry placement,
            payments will be reduced to 10% of the defendant’s gross monthly
            income.   Following release from the residential reentry center,
            payments will continue to be 10% per month of the defendant’s
     Case 4:08-cr-00290-SWW    Document 104    Filed 07/30/09   Page 2 of 2



            monthly gross income for the balance of the term of supervised
            release. The interest requirement is waived.

      3.    Defendant shall participate, under the guidance and supervision of
            the U. S. Probation Officer, in a substance abuse treatment program
            which   may  include   testing,   out-patient  counseling,   and/or
            residential treatment. Further, defendant shall abstain from the
            use of alcohol throughout the course of any treatment.

      4.    Defendant shall participate in mental health counseling with
            emphasis on anger management under the guidance and supervision of
            the U.S. Probation Office.

      5.    Defendant shall disclose financial information upon request of the
            U.S. Probation Office, including, but not limited to, loans, lines
            of credit, and tax returns.     This also includes records of any
            business with which defendant is associated. No new lines of credit
            shall be established without prior approval of the U.S. Probation
            Office until all criminal penalties have been satisfied.

      6.    Defendant shall maintain or be actively seeking employment.

      7.    Defendant shall not obtain employment at an institution insured by
            the FDIC or at a Federal Credit Union.

      The defendant is remanded to the custody of the United States Marshal to

be transported to the designated facility for the service of the sentence

imposed.

      IT IS SO ORDERED this 30th day of July 2009.

                                          /s/Susan Webber Wright

                                          United States District Judge
